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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________
 Middle DistrictDistrict of __________
                 of Florida

 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                 amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Brian C. Abel
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                       Other ___________________________. Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                  ✔
                                                              Unknown
                                                        Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                   James   Neill, as trustee in bankruptcy of the Northern Ireland insolvency proceeding of Debtor
                                          ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             High Court of Justice in Northern Ireland, Chancery Division (Bankruptcy)
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                           ✔
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               ✔
                                                 A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ✔
     foreign representative(s)?
                                                 Yes




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Debtor          Brian C. Abel
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Northern  Ireland, United Kingdom
                                        ______________________________________________                   ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):


                                         2 Woodside Heights                                              Jefferson House, 42 Queen Street
                                         _______________________________________________                 _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box
                                        Londonderry, County Londonderry BT47 2LQ
                                         _______________________________________________                 Belfast               BT1 6HL
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                          Northern Ireland, United Kingdom
                                         _______________________________________________                 Northern Ireland, United Kingdom
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:

                                               Non-individual (check one):

                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                         ✔
                                               Individual




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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                    Tampa Division

In re:

BRIAN C. ABEL                                                Case No.:
                                                             Chapter 15
         Debtor in a Foreign Proceeding.

                                               /

                VERIFIED PETITION FOR RECOGNITION OF FOREIGN
                PROCEEDING PURSUANT TO 11 U.S.C. §§ 1515 AND 1517

         James Neill (the “Foreign Representative”), in his capacity as foreign representative and

trustee in bankruptcy of the Northern Ireland insolvency proceedings of debtor, Brian Abel (the

“Debtor”) and not in his individual capacity, petitions this Court for entry of an order pursuant to

§ 1517 of the Bankruptcy Code, recognizing as a foreign main proceeding the foreign proceeding

currently pending in the High Court of Justice in Northern Ireland, Chancery Division

(Bankruptcy) (the “Northern Ireland Bankruptcy Court”), Case Number 17/105835, Court Order

CO9233532 (the “Northern Ireland Proceeding”), granting relief pursuant to §§ 1520 and 1521

of the Bankruptcy Code, and granting any additional relief which may be available under

Chapter 15 of the Bankruptcy Code.

                                PRELIMINARY STATEMENT

         1.     The Foreign Representative files this petition under 11 U.S.C. § 1504 seeking

recognition of the Northern Ireland Proceeding as a foreign proceeding, as defined by 11 U.S.C.

§ 101(23). The Northern Ireland Bankruptcy Court is the administrative body that adjudicates

bankruptcies in Northern Ireland, and is therefore a foreign court, as such term is defined by 11

U.S.C. § 1502(3). The Foreign Representative petitions for recognition of the Northern Ireland

Proceeding either as a foreign main proceeding, as defined by 11 U.S.C. § 1502(4), or as a
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foreign nonmain proceeding, as defined by 11 U.S.C. § 1502(5).             In the event this Court

determines that the Debtor’s center of main interests is not Northern Ireland, the Foreign

Representative requests relief under 11 U.S.C. § 1521 and any additional relief available to it

under Chapter 15 of the Bankruptcy Code.

        2.       In the gap period from the filing of this Petition for Recognition until this Court

rules on the Petition, the Foreign Representative requests relief under § 1519 of the Bankruptcy

Code that is urgent to protect the assets of the Debtor and to protect the interests of the creditors,

including a request for the confirmation or extension of relief under §§ 103(a) and 108(a) of the

Bankruptcy Code, including the tolling of the statute of limitations regarding an alleged

fraudulent transfer of real property located in Davenport, Polk County, Florida from the Debtor

to an insider.

        3.       The Statement of Foreign Representative, as required by § 1515 of the

Bankruptcy Code, and the list of Administrators, Parties and Entities pursuant to Rule 1007(a)(4)

of the Federal Rules of bankruptcy, is attached as Exhibit “A.”

        4.       As required by § 1515(b)(2) of the Bankruptcy Code, Composite Exhibit “B”

sets forth and attaches evidence confirming the existence of the foreign proceeding and the

appointment of the Foreign Representative.

        5.       At all pertinent times, Northern Ireland was under the European Union Regulation

on Insolvency Proceedings, which is analogous to Chapter 15 of the United States Bankruptcy

Code.




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                                    Jurisdiction and Venue

       6.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334, and 11 U.S.C. §§ 109 and 1501. Venue of this proceeding is proper in this judicial district

pursuant to 28 U.S.C. § 1410. This is a core proceeding under 28 U.S.C. §157(b)(2)(p).

                                      Factual Background

       a.      The Northern Ireland Proceeding

       7.      The Debtor is an individual with his principal residence located in Northern

Ireland. To the Foreign Representative’s knowledge, the Debtor has not been granted permanent

residence in the United States. On October 19, 2017, AIB Group (UK) Plc, a creditor of Debtor,

petitioned the Northern Ireland Bankruptcy Court for Debtor to be declared bankrupt under The

Insolvency (Northern Ireland) Order 1989, 1989/2405 (N. Ir.) (the “Northern Ireland Code”). As

part of the Northern Ireland Proceeding, the Foreign Representative was duly appointed as

trustee in bankruptcy of the Debtor’s estate pursuant to Northern Ireland Code. On March 16,

2018, the Debtor was adjudged bankrupt. A copy of AIB Group (UK) Plc’s bankruptcy petition,

the Northern Ireland Bankruptcy Court’s order declaring the Debtor bankrupt and the Certificate

of Appointment as trustee in bankruptcy by the Department for the Economy (Insolvency

Service) are attached in Composite Exhibit “B.”

       8.      By virtue of Northern Ireland Code, the Foreign Representative is authorized to

appear in this Court as foreign representative of the Northern Ireland Proceeding.

       9.      In the order declaring the Debtor bankrupt, the Northern Ireland Bankruptcy

Court also declared that the Northern Ireland Proceeding was a main proceeding as defined in

Article 3 of the European Council Regulation No 1346/2000 on Insolvency Proceedings. The

bankruptcy order had also adjudicated the Debtor’s address as “2 Woodside Heights,



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Londonderry, County Londonderry, BT47 2LQ,” which is located within Northern Ireland. To

the Foreign Representative’s knowledge, this address is the habitual residence of the Debtor.

Pursuant to the Foreign Representative’s investigation, another possible address of the Debtor is

“40 Oakfield Road, Londonderry, BT48 9BB” which is located within Northern Ireland.

       10.     The known creditors of the Debtor in the Northern Ireland Proceeding are as

follows:

               (a)     AIB Group (UK) Plc (£281,420.63)

               (b)     Bank of Ireland (£57,421.01)

               (c)     Bank of Scotland (£8,073.78)

               (d)     Land & Property Services (£5,472.25)

       11.     Under Northern Ireland insolvency law, any creditor who is owed more than

£5,000 by a debtor can petition for the debtor to be adjudicated bankrupt. The Insolvency

(Northern Ireland) Order 1989, 1989/2405 (N. Ir.), Article 238(1)(a) and Article 241. The

petition does not need to list the other creditors. Once the Northern Ireland Bankruptcy Court

enters a bankruptcy order, a trustee in bankruptcy is appointed and all creditors must submit a

“proof of debt” which sets out their claim in the bankruptcy. The trustee in bankruptcy may then

decide to admit or reject those claims.

       12.     Because the Debtor has been declared bankrupt in the Northern Ireland

Proceeding, all of Debtor’s property in Northern Ireland automatically vests in the trustee in

bankruptcy to be realized for the benefit of the Debtor’s creditors.

       13.     The Foreign Representative requests that the Court open a case under Chapter 15

of the United States Bankruptcy Code to recognize the Northern Ireland Proceeding to conduct

an investigation of the Debtor’s assets within the United States. Specifically, the Foreign



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Representative intends to pursue an action for avoidance of a fraudulent transfer of property

within this Court’s district to an insider for minimal value.

       14.     To the Foreign Representative’s knowledge, there are no other foreign

proceedings with respect to the Debtor.

       b.      The Debtor’s Florida Property

       15.     Prior to the commencement of the Northern Ireland Proceeding, on or about

December 14, 2007, the Debtor purchased a residence located at 457 Orange Cosmos Boulevard,

Davenport, Polk County, Florida with a legal description as follows:

       Lot 197, WATERSONG PHASE ONE, according to the Plat thereof, as recorded
       in Plat Book 135, Pages 45 through 52, inclusive, of the Public Records of Polk
       County, Florida.

(the “Davenport Property”). The Davenport Property sits on approximately 0.19 acres, and has a

residence located on it with approximately 3,505 square feet of living area. According to public

records, Debtor purchased the Davenport Property for approximately $467,300.00.             The

Davenport Property does not appear to have been mortgaged and Debtor owned it free and clear.

The December 14, 2007 deed (the “2007 Deed”) where Debtor purchased the Davenport

Property is attached as Exhibit “C.” The 2007 Deed lists Debtor’s address as “Pheasant Lodge,

Carrow Reagh, Co. Donegal, UK,” which is an address that is actually in the Republic of Ireland.

       16.     Prior to the Northern Ireland Proceeding, on or about June 16, 2015, the Debtor

deeded the Davenport Property to his then girlfriend, Angela McClenaghan (the “Insider”), who

is believed to reside in the Northern Ireland, for minimal or no consideration. Pursuant to the

public records, the Davenport Property was sold to the Insider for $100.00. The Davenport

Property, again, does not appear to be mortgaged, and the Insider currently owns it free and




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clear. The June 16, 2015 deed (the “2015 Deed”) where the Davenport Property was deeded to

the Insider is attached as Exhibit “D.”

       17.     To the Foreign Representative’s knowledge, the Insider has known/possible

addresses as follows: (1) “9 Griffith Park, Londonderry, BT48 8PE, Northern Ireland,” and (2)

“6 Gollan Heights, Fahan, County Donegal, Republic of Ireland.”

       18.     To the Foreign Representative’s knowledge, the Debtor owns no other property in

the United States.

       c.      The Foreign Representative’s Investigation of Debtor’s United States Assets

       19.     The Foreign Representative has conducted a preliminary investigation regarding

the circumstances surrounding the Debtor’s transfer of the Davenport Property to the Insider, and

the investigation has led the Foreign Representative to believe that the transaction was a

fraudulent transfer under Florida state law and a transaction at an undervalue pursuant to

Northern Ireland law under the Northern Ireland Code. The Insolvency (Northern Ireland) Order

1989, 1989/2405 (N. Ir.), Article 312(3)(c).

       20.     Under the Northern Ireland Code, the Foreign Representative as trustee in

bankruptcy is authorized to pursue transactions at an undervalue if the debtor enters into a

transaction with a person for a consideration the value of which is significantly less than the

value of the consideration provided by the individual. The Insolvency (Northern Ireland) Order

1989, 1989/2405 (N. Ir.). The relevant “look back” period for such a transaction is five (5) years

preceding the filing of the bankruptcy proceedings. Id.

       21.     The Foreign Representative is currently aware of no legal proceedings in the U.S.

in which the Debtor is a party.




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                                     RELIEF REQUESTED

       22.     Because (a) recognition of the Northern Ireland Proceeding would not be

manifestly contrary to public policy under Bankruptcy Code section 1506, (b) the Northern

Ireland Proceeding is a foreign proceeding under Bankruptcy Code section 101(23), (c) the

Foreign Representative is a “person” pursuant to Bankruptcy Code sections 101(41) and

1517(a)(2), and, (e) the Foreign Representative has complied with all requirements under

Bankruptcy Code section 1515, and Rule 1007(a)(4) of the Federal Rules of Bankruptcy

Procedure, the Foreign Representative submits that it is entitled to an entry of an order

recognizing the Northern Ireland Proceeding as a foreign proceeding under Bankruptcy Code

section 1517 and is entitled to appropriate relief.

       23.     Northern Ireland was adjudicated to be a main proceeding in the Northern Ireland

Proceeding, and Northern Ireland appears to be the center of main interests for the Debtor

because the original action was commenced in the Northern Ireland Bankruptcy Court, Debtor’s

address was located within Northern Ireland pursuant to the Northern Ireland Proceeding order

located within Composite Exhibit “B,” and the Foreign Representative has identified no other

property within the United States that Debtor owns. Furthermore, the Foreign Representative

submits that Debtor cannot possess the requisite state of mind to make Florida his permanent

residence since, to the best of the Foreign Representative’s knowledge, Debtor has not obtained

permanent residency for immigration purposes. In addition, the Debtor appears to own and/or

rent real property within Northern Ireland, and owes a debt to Land & Property Services, which

is a Northern Ireland statutory body that collects property rates or taxes, and administers Land

Registration in Northern Ireland. In consideration of the commencement of the proceedings in




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Northern Ireland, this Court should recognize that the Northern Ireland Proceeding is a foreign

main proceeding pursuant to 11 U.S.C. § 1517(b)(1).

       24.     In furtherance of his duties, the Foreign Representative seeks an Order pursuant to

§§ 105(a), 1507, 1517, 1520 and 1521 of the Bankruptcy Code, and if necessary, Rule 65 of the

Federal Rules of Civil Procedure as made applicable herein by Rule 7065 of the Federal Rules of

Bankruptcy Procedure, substantially in the form of the Proposed Order, attached hereto as

Exhibit “E,” granting the following relief:

       (a)     Recognizing the Northern Ireland Proceeding as a foreign main proceeding as

defined in Bankruptcy Code section 1502(4) of the Bankruptcy Code and James Neill, in his

capacity as foreign representative and trustee in bankruptcy of the Northern Ireland insolvency

proceedings of Debtor, as foreign representative;

       (b)     granting further additional relief as authorized by Bankruptcy Code section 1521,

including, without limitation:

               (i)     staying the commencement or continuation of any action or proceeding

without the consent of the Foreign Representative concerning the assets, rights, obligations or

liabilities of the Debtor to the extent not stayed under Bankruptcy Code section 1520(a);

               (ii)    staying execution against the assets of the Debtor to the extent not stayed

under Bankruptcy Code section 1520(a);

               (iii)   suspending the right to transfer or otherwise dispose of any assets of the

Debtor to the extent this right has not been suspended under Bankruptcy Code section 1520(a);

               (iv)    providing for the examination of witnesses, the taking of evidence or the

delivery of information concerning the assets, affairs, rights, obligations or liabilities of the

Debtor;



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               (v)     entrusting the administration or realization of all or part of the assets of the

Debtor within the territorial jurisdiction of the United States to the Foreign Representative;

               (vi)    entrusting the distribution of all or part of the Debtor’s assets located

within the United States to the Foreign Representative and finding that the assets of the Debtor

are sufficiently protected thereby;

               (vii)   otherwise granting comity to and giving full force and effect to the

Northern Ireland Proceedings; and

               (viii) awarding the Foreign Representative such other and further relief as this

Court may deem just and proper.

       25.     In the event that this Court determines that Northern Ireland is not the Debtor’s

center of main interests, recognition as a foreign nonmain proceeding is appropriate pursuant to

11 U.S.C. § 1517(b)(2). In such event, the Foreign Representative requests an order pursuant to

§§ 105(a), 1507, 1517 and 1521 of the Bankruptcy Code, and, if necessary, Rule 65 of the

Federal Rules of Civil Procedure, as made applicable herein by Rule 7065 of the Federal Rules

of Bankruptcy Procedure, substantially in the form of the Alternative Proposed Order, attached

hereto as Exhibit “F,” granting the following relief:

       (a)     Recognizing the Northern Ireland Proceeding as a foreign main proceeding as

defined in Bankruptcy Code section 1502(4) of the Bankruptcy Code and James Neill, in his

capacity as foreign representative and trustee in bankruptcy of the Northern Ireland insolvency

proceedings of Debtor, as foreign representative;

       (b)     granting further additional relief as authorized by Bankruptcy Code section 1521,

including, without limitation:




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                (i)     staying the commencement or continuation of any action or proceeding

without the consent of the Foreign Representative concerning the assets, rights, obligations or

liabilities of the Debtor;

                (ii)    staying execution against the assets of the Debtor;

                (iii)   suspending the right to transfer or otherwise dispose of any assets of the

Debtor;

                (iv)    providing for the examination of witnesses, the taking of evidence or the

delivery of information concerning the assets, affairs, rights, obligations or liabilities of the

Debtor;

                (v)     entrusting the administration or realization of all or part of the assets of the

Debtor within the territorial jurisdiction of the United States to the Foreign Representative;

                (vi)    entrusting the distribution of all or part of the Debtor’s assets located

within the United States to the Foreign Representative and finding that the assets of the Debtor

are sufficiently protected thereby;

                (vii)   otherwise granting comity to and giving full force and effect to the

Northern Ireland Proceedings; and

                (viii) awarding the Foreign Representative such other and further relief as this

Court may deem just and proper.

        (c)     Finding that the Court is satisfied that the relief granted hereby relates to assets

that, under the law of the United States, should be administered in the Northern Ireland

Proceeding.

        26.     Under applicable nonbankruptcy law in the State of Florida, pursuant to Florida

Statutes section 726.110, the statute of limitations will run on the Foreign Representative’s state



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law fraudulent transfer claim on June 15, 2019 because the date of the transfer of the Davenport

Property from the Debtor to the Insider occurred on June 16, 2015. Whether the Northern

Ireland Proceeding is found to be a foreign main proceeding or a foreign nonmain proceeding,

pursuant to Bankruptcy Code sections 1519(a) and 1522, the Foreign Representative requests

that all statutes of limitations, or other limitations periods, be tolled under Bankruptcy Code

sections 103(a) and 108(a) through the date of recognition. In re Massa Falida do Banco

Cruzeiro do Sul SA, 567 B.R. 212, 228-29 (Bankr. S.D. Fla. 2017) (“Section 108(a) is applicable

in Chapter 15 proceedings.”). The tolling of the statutes of limitations, or other limitations

period, is urgently needed to protect potential assets of the Debtor’s bankruptcy estate, and thus

is urgently needed to protect the interest of the Debtor’s creditors. Furthermore, said tolling

relief would assist the Foreign Representative in maintaining the status quo prior to an order of

recognition, and prevent the Foreign Representative from being forced to file a prophylactic state

court lawsuit prior to the expiration of the limitations period under Florida Statutes section

726.110. See id. at 229 (finding that “[f]or purposes of section 108(a), the date of the recognition

order is the ‘order of relief’ in Chapter 15 cases”). This relief is included in the attached forms

for the Proposed Order and the Alternative Proposed Order.

                               HEARING DATE AND NOTICE

       27.     The Foreign Representative requests that the Court set the date for a hearing,

pursuant to § 1517(c) of the Bankruptcy Code “at the earliest possible time.”

                                         CONCLUSION

       WHEREFORE, the Foreign Representative, James Neill, in his capacity as foreign

representative and trustee in bankruptcy of the Northern Ireland insolvency proceedings of

debtor, Brian Abel, and not in his individual capacity, respectfully petitions this Court to enter an



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      5th




                                              5th
